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 6
                                 UNITED STATES DISTRICT COURT
 7
 8                            CENTRAL DISTRICT OF CALIFORNIA

 9   THERESA BROOKE, a married woman
     dealing with her sole and separate claim,      Case No:
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11                           Plaintiff,             VERIFIED COMPLAINT
12   vs.                                            (JURY TRIAL DEMANDED)
13
     LEMON TREE INN LP, a California
14   limited partnership,
15
                             Defendant.
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            Plaintiff alleges:
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                                              PARTIES
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            1.      Plaintiff Theresa Brooke is a married woman. Plaintiff is legally disabled,
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     and is therefore a member of a protected class under the ADA, 42 U.S.C. § 12102(2),
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     the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq., the
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     California Unruh Civil Rights Act. Plaintiff ambulates with the aid of a wheelchair due
22
     to the loss of a leg.
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            2.      Defendant, Lemon Tree Inn LP, owns and/or operates and does business
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     as the hotel Lemon Tree Inn located at 2819 State Street, Santa Barbara, California
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     93105. Defendant’s hotel is a public accommodation pursuant to 42 U.S.C. §
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     12181(7)(A), which offers public lodging services. On information and belief,
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     Defendant’s hotel was built or renovated after March 15, 2012.
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 1                                          JURISDICTION
 2          3.     Jurisdiction in this Court is proper pursuant to 28 U.S.C. §§ 1331 and 42
 3   U.S.C. § 12188.
 4          4.     Plaintiff’s claims asserted herein arose in this judicial district and
 5   Defendant does substantial business in this judicial district.
 6          5.     Venue in this judicial district is proper under 28 U.S.C. § 1391(b) and (c)
 7   in that this is the judicial district in which a substantial part of the acts and omissions
 8   giving rise to the claims occurred.
 9          6.     Pursuant to Arroyo v. Rosas, supplemental jurisdiction is appropriate over
10   Plaintiff’s Unruh claim. On a case-specific analysis, there are no compelling reasons to
11   decline jurisdiction.
12                                          ALLEGATIONS
13          7.     Plaintiff alleges that Defendant’s hotel does not have a compliant access
14   aisle at the passenger loading zone adjacent to the hotel lobby in violation of Sections
15   209 and 503 of the 2010 Standards. An access aisle has specific requirements to be
16   compliant with the Standards: It must be (1) 60 inches wide and at least 20 feet long, (2)
17   it must have an accessible route adjoining it, and (3) it cannot be within a vehicular
18   way. Section 503.3.
19          8.     The requirement for an access aisle at a passenger loading zone is
20   immensely important for a person in a wheelchair such as Plaintiff, as it provides safe
21   access to the entry of the hotel and deters others from placing encumbrances or
22   obstacles there such as a vehicle parking. An access aisle is akin to a cross-walk for
23   pedestrians. Absence of an access aisle where required creates dangerous conditions for
24   a person in a wheelchair such as Plaintiff.
25          9.     Plaintiff further alleges that Defendant’s hotel’s disabled parking is not
26   the shortest possible route to the Hotel lobby entrance. Section 208.3.1.
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 1           10.   Disabled parking spots relate to Plaintiff’s disability because she has only
 2   one leg and uses a wheelchair, and disabled parking provides for an access aisle and
 3   closer distances to an accessible entrance.
 4           11.   It is more difficult for a person in a wheelchair to move about than a
 5   person who is able to walk; it is also more time-consuming. Hence, disabled parking
 6   spots must be the closest to the building entrance to counter-act the difficulty and extra
 7   time, i.e. make things equal.
 8           12.   Plaintiff formerly worked in the hospitality industry. She is an avid
 9   traveler across California for purposes of leisure travel and to “test” whether various
10   hotels comply with disability access laws, doing so at least once per month. Testing is
11   encouraged by the Ninth Circuit.
12           13.   In early June 2025, Plaintiff personally visited Defendant’s hotel, which
13   has a passenger loading zone. Defendant’s hotel has a passenger loading zone because
14   pickup and dropoff occurs there and it is located directly outside of the lobby entrance.
15   There are also design features showing an intent for utilization as a passenger loading
16   zone. According to the U.S. Access Board Technical Guidelines on Passenger Loading
17   Zones, “many hotel entrances” have the design features indicating an intent to utilize as
18   PLZs.
19           14.   While at Defendant’s hotel, she discovered that Defendant’s hotel has a
20   barrier to entry to the lobby, which is that the passenger loading zone does not have an
21   access aisle compliant with Section 503.3. It is an absolute requirement to have an
22   access aisle at a passenger loading zone pursuant to Sections 209 and 503. The
23   requirement of an access aisle at a passenger loading zone relates to Plaintiff’s
24   disability of not having one leg and being forced to use a wheelchair because access
25   aisles are required so persons in a wheelchair can maneuver without threat of danger
26   from other vehicles and without other encumbrances obstructing their pathway. The
27   lobby, therefore, is inaccessible to Plaintiff by way of the passenger loading zone
28   because there is no access aisle.


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 1            15.   Plaintiff, deterred from the barrier at the passenger loading zone, sought
 2   to park in a parking space at the Hotel, which has a parking lot. However, the disabled
 3   parking spot at the Hotel was not on the shortest possible route to the Hotel’s entrance;
 4   instead, there are non-disabled parking spots on much shorter routes. This violates
 5   Section 208.3.
 6            16.   Plaintiff gained actual and personal knowledge of two barriers while
 7   visiting Defendant’s hotel, and as a result, she was deterred from entering the hotel both
 8   from the barriers and due to the lack of equality.
 9            17.   Plaintiff has certain plans of returning and staying at the Hotel in October
10   2025 during one of her many trips across California, in the hopes that Defendant will
11   have remediated the barriers by then.
12            18.   It is readily achievable and inexpensive to modify the hotel to provide an
13   access aisle and move a disabled parking spot, which involves painting and measuring
14   tools.
15            19.   Without injunctive relief, Plaintiff and others will continue to be unable to
16   independently use Defendant’s hotel in violation of her rights under the ADA.
17                                    FIRST CAUSE OF ACTION
18            20.   Plaintiff incorporates all allegations heretofore set forth.
19            21.   Defendant has discriminated against Plaintiff and others in that it has
20   failed to make its public lodging services fully accessible to, and independently usable
21   by, individuals who are disabled in violation of 42 U.S.C. § 12182(a) and §
22   121282(b)(2)(iv) and the 2010 Standards, as described above.
23            22.   Defendant has discriminated against Plaintiff in that it has failed to
24   remove architectural barriers to make its lodging services fully accessible to, and
25   independently usable by individuals who are disabled in violation of 42 U.S.C.
26   §12182(b)(A)(iv) and the 2010 Standards, as described above. Compliance with the
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 1   2010 Standards would neither fundamentally alter the nature of Defendant’s lodging
 2   services nor result in an undue burden to Defendant.
 3          23.      In violation of the 2010 Standards, Defendant’s hotel passenger loading
 4   zone does not have a disability access aisle compliant with Section 503.3 of the
 5   Standards.
 6          24.      Compliance with 42 U.S.C. § 12182(b)(2)(A)(iv) and the 2010 Standards,
 7   as described above, is readily achievable by the Defendant. Id. Readily achievable
 8   means that providing access is easily accomplishable without significant difficulty or
 9   expense.
10          25.      Defendant’s conduct is ongoing, and Plaintiff invokes her statutory right
11   to declaratory and injunctive relief, as well as costs and attorneys’ fees.
12          26.      Without the requested injunctive relief, Defendant’s non-compliance with
13   the ADA’s requirements that its passenger loading zone be fully accessible to, and
14   independently useable by, disabled people is likely to recur.
15          WHEREFORE, Plaintiff demands judgment against Defendant as follows:
16                a. DECLARATORY Judgment that at the commencement of this action
                     Defendant was in violation of the specific requirements of Title III of the
17                   ADA described above, and the relevant implementing regulations of the
18                   ADA;

19                b. Permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §
20                   36.504(a) which directs Defendant to take all steps necessary to bring its
                     passenger loading zone into full compliance with the requirements set
21                   forth in the ADA;
22                c. Payment of costs and attorney’s fees;
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                  d. Provision of whatever other relief the Court deems just, equitable and
24                   appropriate.
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                                     SECOND CAUSE OF ACTION
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        27. Plaintiff incorporates all allegations heretofore set forth.
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 1          28.      Defendant has discriminated against Plaintiff and others in that it has
 2   failed to make its public lodging services fully accessible to, and independently usable
 3   by, individuals who are disabled in violation of 42 U.S.C. § 12182(a) and §
 4   121282(b)(2)(iv) and the 2010 Standards, as described above.
 5          29.      Defendant has discriminated against Plaintiff in that it has failed to
 6   remove architectural barriers to make its lodging services fully accessible to, and
 7   independently usable by individuals who are disabled in violation of 42 U.S.C.
 8   §12182(b)(A)(iv) and the 2010 Standards, as described above. Compliance with the
 9   2010 Standards would neither fundamentally alter the nature of Defendant’s lodging
10   services nor result in an undue burden to Defendant.
11          30.      In violation of the 2010 Standards, Defendant’s Hotel parking lot does not
12   comply with Section 208.3 of the Standards, as described above.
13          31.      Compliance with 42 U.S.C. § 12182(b)(2)(A)(iv) and the 2010 Standards,
14   as described above, is readily achievable by the Defendant. Id. Readily achievable
15   means that providing access is easily accomplishable without significant difficulty or
16   expense.
17          32.      Defendant’s conduct is ongoing, and Plaintiff invokes her statutory right
18   to declaratory and injunctive relief, as well as costs and attorneys’ fees.
19          33.      Without the requested injunctive relief, Defendant’s non-compliance with
20   the ADA’s requirements that its parking lot be fully accessible to, and independently
21   useable by, disabled people is likely to recur.
22          WHEREFORE, Plaintiff demands judgment against Defendant as follows:
23                a. Declaratory Judgment that at the commencement of this action Defendant
                     was in violation of the specific requirements of Title III of the ADA
24                   described above, and the relevant implementing regulations of the ADA;
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                  b. Permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §
26                   36.504(a) which directs Defendant to take all steps necessary to bring its
27                   parking lot into full compliance with the requirements set forth in the
                     ADA;
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 1                c. Payment of costs and attorney’s fees;
 2                d. Provision of whatever other relief the Court deems just, equitable and
 3                   appropriate.

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                                       THIRD CAUSE OF ACTION
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 6          34.      Plaintiff realleges all allegations heretofore set forth.
 7          35.      Defendant has violated the Unruh by denying Plaintiff equal access to its
 8   public accommodation on the basis of her disability as outlined above.
 9          36.      Unruh provides for declaratory and monetary relief to “aggrieved
10   persons” who suffer from discrimination on the basis of their disability.
11          37.      Plaintiff has been damaged by the Defendant’s non-compliance with
12   Unruh.
13          38.      Pursuant to Cal Civ. Code §52, Plaintiff is further entitled to such other
14   relief as the Court considers appropriate, including monetary damages in an amount of
15   $8,000.00, and not more.
16          39.      Pursuant to Unruh, Plaintiff is entitled to attorney’s fees and costs in an
17   amount to be proven at trial.
18          WHEREFORE, Plaintiff demands judgment against Defendant as follows:
19                a. Declaratory Judgment that at the commencement of this action Defendant
20                   was in violation of the specific requirements of Unruh; and

21                b. Permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §
                     36.504(a) which directs Defendant to take all steps necessary to bring its
22                   passenger loading zone and parking lot into full compliance with the
23                   requirements set forth in the ADA;

24                c. Payment of costs and attorney’s fees;
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                  d. Damages in the amount of $8,000.00; and
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                  e. Provision of whatever other relief the Court deems just, equitable and
27                   appropriate.
28                                   DEMAND FOR JURY TRIAL


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 1        Plaintiff hereby demands a jury trial on issues triable by a jury.
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 3        RESPECTFULLY SUBMITTED this 6th day of June, 2025.
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 5
 6                                            P. Kristofer Strojnik (242728)
                                              Attorneys for Plaintiff
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 8                                       VERIFICATION

 9        I declare under penalty of perjury that the foregoing is true and correct.
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                        DATED this 6th day of June, 2025.
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                 ______________________
15               Theresa Marie Brooke
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